Case 1:21-cr-00708-RCL Document 105 Filed 05/09/23 Page 1 of 4

CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

 

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)
vs. ) Civil/Criminal No.;__ 21CR708 (RCL)
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LEO CHRISTOPHER KELLY )
) FILED
MAY 09 2023
Clerk. U.S. District & Bankruptcy
NOTE FROM JURY Courts for the District of Columbia

 

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Case 1:21-cr-00708-RCL Document 105 Filed 05/09/23 Page 2 of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v. Case No. 21-cr-708 (RCL)

LEO CHRISTOPHER KELLY,

Defendant.

 

Response to Jury Note
This is a response to your jury note of May 9, 2023, at 10:11 AM, asking “[f]or Count

Five, does the Senate floor count as a ‘certain room’ in the Capitol Building.”

No, Count V refers only to the Parliamentarian’s Office.

SIGNED this qt day of May, 2023.

Kye Lue

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Royce C. Lamberth
United States District Judge
Case 1:21-cr-00708-RCL Document 105 Filed 05/09/23 Page 3 of 4

CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS.

LEO CHRISTOPHER KELLY

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FILED
MAY 0 9 2023

Clerk. U.S. District & Bankrupicy
NOTE FROM JURY Courts for the District of Columbia

 

Civil/Criminal No.: 21CR708 (RCL)

 

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Case 1:21-cr-00708-RCL Document 105 Filed 05/09/23 Page 4 of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v. Case No. 21-cr-708 (RCL)

LEO CHRISTOPHER KELLY,

Defendant.

 

Response to Jury Note
This is a response to your jury note of May 9, 2023, at 11:38 AM asking three questions:

“For Count 5, do we consider the room in question in isolation to the rest of building? Do we
only consider his intent in regards to that room? Must we consider the official business taking
place in that room?”

For Count Five, the government must prove beyond a reasonable doubt that the defendant
entered or remained in the Senate Parliamentarian’s Office willfully and knowingly and he did so
with the intent to disrupt the orderly conduct of official business.

The term official business is not limited to the room and the functions happening in the

room.

SIGNED this __¢*_ day of May, 2023 m6 11170 -™°
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Royce C. Lamberth
United States District Judge
